This is an appeal from an order refusing to credit the sum of $15 costs (for which judgment had been entered in favor of Grace A. Sorenson) upon a judgment against her codefendant in the same action, Albert Sorenson, the appellant basing the argument against the order largely upon the case ofAdams v. Baker, 24 Nev. 375, [55 P. 362].
The appeal is by the alternative method, but appellant neither prints any of the record in the brief nor designates in any way the parts of the transcript upon which the alleged "statement of facts" is based. We will not, therefore, consider the brief. (Code Civ. Proc., sec. 953c; Estate of Keith,175 Cal. 26, [165 P. 10]; Miller v. Oliver, 174 Cal. 404, [163 P. 357].)
Order affirmed.
Wilbur, J., and Lennon, J., concurred.